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                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF PENNSYLVANIA

                                                     :
 ANGEL SULLIVAN-BLAKE and HORACE                     :
 CLAIBORNE, on behalf of themselves and              :
 others similarly situated,                          :
                                                     :   CIVIL ACTION NO. 2:18-cv-01698-CRE
               Plaintiffs,                           :
             v.                                      :
                                                     :
 FEDEX GROUND PACKAGE SYSTEM,                        :
 INC.,                                               :
                                                     :
               Defendant                             :
                                                     :

                                      [PROPOSED] ORDER
       Upon consideration of Plaintiffs’ Motion for Issuance of Notice Under § 216(b) of the

FLSA, Plaintiffs’ accompanying brief, Defendants’ opposition papers, and all other papers and

proceedings herein, it is hereby ORDERED that the following collective is conditionally

certified pursuant to Section 16(b) of the Fair Labor Standards Act, 29 U.S.C. § 216(b):

       All individuals (outside Massachusetts) who worked as a FedEx delivery driver under an

       independent service provider (ISP) since August 29, 2014, who operated a vehicle

       weighing less than 10,001 pounds at any time since August 29, 2014, and were not paid

       overtime compensation for all hours worked over forty each week.

       Defendant is ordered to provide Plaintiffs’ counsel with a spreadsheet (preferably in

Excel format) listing the name, last known address, and e-mail address of every member of the

conditionally certified FLSA collective.

       Plaintiffs shall issue the notice form attached to their motion as Exhibit F by first-class

mail and email, with a reminder notice to be sent after 30 days. The notice period shall last 60

days from the date of the first notice.


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      IT IS SO ORDERED.




Date: __________________                       ____________________________
                                               Hon. Cynthia R. Eddy
                                               United States Magistrate Judge




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